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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Criminal No. 17-10269-WGY

                                UNITED STATES OF AMERICA

                                                 v.

                                     REGINALD ABRAHAM

                           ORDER OF VOLUNTARY DETENTION

                                        September 20, 2017

Boal, M.J.

       The defendant, Reginald Abraham, is charged in an indictment with sex trafficking by

force, fraud and coercion in violation of 18 U.S.C. §§ 1591(a) and (b)(1). An initial appearance

was held on September 7, 2017, at which time the government moved for detention. After a

September 19, 2017 detention hearing, the defendant, represented by counsel, elected to

voluntarily consent to detention without prejudice.

       Accordingly, it is ORDERED that the defendant be DETAINED pending trial, and is

further ORDERED that:

       (1) the defendant be committed to the custody of the Attorney General for confinement

in a corrections facility separate, to the extent practicable, from persons awaiting or serving

sentences or being held in custody pending appeal;

       (2) the defendant be afforded reasonable opportunity for private consultation with

counsel; and

       (3) on order of a court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility in which the defendant is detained
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and confined deliver the defendant to an authorized Deputy United States Marshal for the

purpose of any appearance in connection with a court proceeding.

       This order is without prejudice to the defendant filing a motion to consider potential

release conditions. The defendant may seek review of this order by filing a motion for

revocation or amendment pursuant to 18 U.S.C. § 3145(b).

                                               /s/ Jennifer C. Boal
                                             JENNIFER C. BOAL
                                             United States Magistrate Judge




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